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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
   Plaintiff,                                      Criminal no. 17-596 (PAD)
                 v.

   DAN RODRIGUEZ LARACUENTE (18)
             Defendant.
                        INFORMATIVE MOTION

TO THE HONORABLE COURT:

       Comes now the defendant, Mr. Rodriguez Laracuente, and respectfully states and prays as

follows:

       1.      Mr. Rodriguez Laracuente has been out on bond since pending the resolution of his

case. (See Docket Entry #88)

       2.      Mr. Rodriguez Laracuente was arrested on June 25, 2021. Prior to his arrest hearing,

Mr. Rodríguez Laracuente contacted the undersigned to inform of his situation.

       3.      The undersigned attempted to contact the United States Pre-Trial Office to relay

the communication, but was unsuccessful.

       4.      That day same day, Mr. Rodriguez Laracuente's mother contacted the undersigned

to confirm that he had been arrested, and that warrant had been authorized by a local judge,

charging him with a violation of article 3.1 of the Puerto Rico Domestic Violence Act. She also

informed that the judge granted bond and that he uses an electronic monitor as a condition of

release. She also informed that the bond could not be paid at that time.

       5.      On June 29, 2021, the undersigned was able to contact the USPO to inform of the

situation. A motion was then filed by USPO Franklin Castillo informing the court of this matter.

(See Docket #951)
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       6.      On July 28, 2021, the client's mother contacted the undersigned to inform that the

local judge dismissed the case against Mr. Rodríguez Laracuente.

       WHEREFORE, it is respectfully requested that the Court take note of the current

information and that it does not issue the requested warrant.

       RESPECTFULLY SUBMITTED.

       In San Juan, Puerto Rico, this 29th day of July 2021.

       I HEREBY CERTIFY, that on this date the present document has been filed electronically

and is available for viewing and downloading from the Court’s CFM/ECF system by U.S.

Attorney’s Office.


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